                                       
                                    In The
                               Court of Appeals
                     Seventh District of Texas at Amarillo

                           ________________________

                               No. 07-12-0502-CR
                           ________________________
                                       
                        Lisa Marie Fletcher, Appellant
                                       
                                      v.
                                       
                         The State of Texas, Appellee
                                       

                   On Appeal from the 108[th] District Court
                             Potter County, Texas
      Trial Court No. 58,749-E, Honorable Douglas R. Woodburn, Presiding 

                                       
                                April 10, 2013
                                       
                              MEMORANDUM OPINION
                                       
               Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
                                       
Lisa Marie Fletcher (appellant) appeals her conviction for tampering with a government record.  She was originally placed on three years deferred adjudication after pleading guilty to the indictment.  Subsequently, the State filed to adjudicate appellant's guilt which the trial court granted and sentenced her to two years in a state jail facility.  Appellant's appointed counsel has now filed a motion to withdraw, together with an Anders1 brief, wherein she certified that, after diligently searching the record, she concluded that the appeal was without merit.  Along with her brief, appellate counsel filed a copy of a letter sent to appellant informing her of counsel's belief that there was no reversible error and of appellant's right to file a response pro se.  No response has been filed.
	In compliance with the principles enunciated in Anders, appellate counsel discussed two potential areas for appeal, which included sufficiency of the evidence to support adjudication and whether the grounds alleged supported adjudication of guilt.  However, counsel then proceeded to explain why the issues were without merit.
	In addition, we have conducted our own review of the record to assess the accuracy of appellate counsel's conclusions and to uncover any reversible error pursuant to Stafford v. State, 813 S.W.2d 508 (Tex. Crim. App. 1991).  After doing so, we concur with counsel's conclusions.  We have noted that in the judgment, court costs were assessed against appellant and that those costs included attorney's fees of $800 paid for the revocation hearing.  There is no evidence in the record that appellant has the ability to pay those attorney's fees so their assessment against her was error. See Mayer v. State, 309 S.W.3d 552, 556-57 (Tex. Crim. App. 2010). 
Accordingly, the motion to withdraw is granted. The judgment is modified to delete any obligation to pay attorney's fees and, as modified, is affirmed. 
							
Brian Quinn 
						          	Chief Justice

Do not publish.     
